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07
                              UNITED STATES DISTRICT COURT
08                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
09

10 UNITED STATES OF AMERICA,              )
                                          )
11               Plaintiff,               )             Case No. 07-MJ-465
                                          )
12         v.                             )
                                          )             DETENTION ORDER
13   OMAR RICHARD CASTILLO,               )
                                          )
14               Defendant.               )
     ____________________________________ )
15

16 Offense charged:

17           Count 1: Interference with Commerce by Robbery in violation of 18 U.S.C. § 1951.

18 Date of Detention Hearing:      September 28, 2007.

19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

20 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

21 the following:

22 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          (1)     The Court has been provided with no background information on defendant.

24          (2)     Defendant has stipulated to detention, but reserves the right to contest his

25 continued detention if there is a change in circumstances.

26          (3)     There are no conditions or combination of conditions other than detention that


     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01 will reasonably address the risk of flight and risk of danger to other persons or to the

02 community.

03          IT IS THEREFORE ORDERED:

04          (1)     Defendant shall be detained pending trial and committed to the custody of the

05                  Attorney General for confinement in a correctional facility separate, to the

06                  extent practicable, from persons awaiting or serving sentences or being held in

07                  custody pending appeal;

08          (2)     Defendant shall be afforded reasonable opportunity for private consultation

09                  with counsel;

10          (3)     On order of a court of the United States or on request of an attorney for the

11                  government, the person in charge of the corrections facility in which defendant

12                  is confined shall deliver the defendant to a United States Marshal for the

13                  purpose of an appearance in connection with a court proceeding; and

14          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

15                  counsel for the defendant, to the United States Marshal, and to the United

16                  States Pretrial Services Officer.

17                  DATED this 2nd day of October, 2007.



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                                                          JAMES P. DONOHUE
20                                                        United States Magistrate Judge
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     DETENTION ORDER                                                                             15.13
     18 U.S.C. § 3142(i)                                                                      Rev. 1/91
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